                        Case 4:16-cr-00044-BMM Document 118 Filed 06/13/17 Page 1 of 5
   2AO 245E      (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                 Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                                        District of                         MONTANA, at Great Falls

            UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                               (For Organizational Defendants)

               CMG CONSTRUCTION, INC.                                             CASE NUMBER: CR 16-44-GF-BMM-02
                                                                                   Thomas J. Butters
                                                                                  Defendant Organization’s Attorney
  THE DEFENDANT ORGANIZATION:
  G pleaded guilty to count(s)
  G pleaded nolo contendere to count(s)
       which was accepted by the court.
  ✔ was found guilty on count(s)
  G                                           1, 2, and 3 of the Indictment
       after a plea of not guilty.
  The organizational defendant is adjudicated guilty of these offenses:


  Title & Section                 Nature of Offense                                                                   Offense Ended               Count
18 U.S.C. § 371                    Conspiracy to Defraud the United States and the Chippewa Cree Tribe                 1/19/2012                  1

18 U.S.C. § 1343                   Scheme to Defraud the United States and Chippewa Cree Tribe/Wire                    1/19/2012                  2

18 U.S.C. §§ 666(a)(2), 2          Bribery of an Indian Tribal Government Official                                     7/30/2011                  3
          The defendant organization is sentenced as provided in pages 2 through                       5           of this judgment.

  ✔ The defendant organization has been found not guilty on count(s) 4
  G
  G Count(s)                                     G is G are dismissed on the motion of the United States.
            It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
  of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
  are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
  changes in economic circumstances.

  Defendant Organization’s
  Federal Employer I.D. No.:   XX-XXXXXXX                                          6/8/2017
                                                                                  Date of Imposition of Judgment
  Defendant Organization’s Principal Business Address:


                                                                                  Signature of Judge


                                                                                   Brian Morris                     United States District Judge
                                                                                  Name of Judge                                  Title of Judge


                                                                                   6/13/2017
                                                                                  Date
  Defendant Organization’s Mailing Address:
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2 — Probation

                                                                                                   Judgment—Page      2     of    5
DEFENDANT ORGANIZATION: CMG CONSTRUCTION, INC.
CASE NUMBER: CR 16-44-GF-BMM-02
                                                                  PROBATION
The defendant organization is hereby sentenced to probation for a term of :
 none.



The defendant organization shall not commit another federal, state or local crime.




              If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization
     pay in accordance with the Schedule of Payments sheet of this judgment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).




                                     STANDARD CONDITIONS OF SUPERVISION
  1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
     as the organizations’s representative and to be the primary contact with the probation officer;
  2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
     officer;
  3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
  4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
  5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
     litigation, or administrative proceeding against the organization;
  6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
     judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the
     defendant’s successors or assignees; and
  7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2B — Probation

                                                                                   Judgment—Page   3   of   5
DEFENDANT ORGANIZATION: CMG CONSTRUCTION, INC.
CASE NUMBER: CR 16-44-GF-BMM-02

                                     SPECIAL CONDITIONS OF SUPERVISION
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3 — Criminal Monetary Penalties

                                                                                                         Judgment — Page     4      of       5
DEFENDANT ORGANIZATION: CMG CONSTRUCTION, INC.
CASE NUMBER: CR 16-44-GF-BMM-02
                                               CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                      Assessment                                            Fine                               Restitution
TOTALS            $ 1,200.00                                           $ 1,200,000.00                       $ 500,000.00


G The determination of restitution is deferred until                               . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

✔ The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
G
    below.

    If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                                         Total Loss*                 Restitution Ordered      Priority or Percentage
 Bureau of Reclamation                                                                                    $500,000.00

 Attn: Michael J. Ryan, Regional Director

 Great Plains Regional Office

 2021 4th Avenue North, Suite 500

 Billings, Montana 59101

 Tiber Water Project Restitution Account

 Account No. 100490980




TOTALS                                                                $                     0.00 $          500,000.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

✔
G    The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

     ✔ the interest requirement is waived for the
     G                                                          ✔ fine
                                                                G            ✔ restitution.
                                                                             G
     G the interest requirement for the            G     fine       G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 — Schedule of Payments

                                                                                                          Judgment — Page    5      of       5
DEFENDANT ORGANIZATION: CMG CONSTRUCTION, INC.
CASE NUMBER: CR 16-44-GF-BMM-02

                                                        SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    G    Lump sum payment of $                                    due immediately, balance due

          G not later than                                              , or
          G in accordance with G C or                   G D below; or
B    G    Payment to begin immediately (may be combined with                    G C or   G D below); or
C    G    Payment in                     (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
      Criminal monetary payments shall be made to the Clerk, United States District Court, Missouri River Courthouse, 125
      Central Avenue West, Suite 110, Great Falls, MT 59404.




All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.
      Defendant CMG Construction, Inc., CR 16-44-GF-BMM-02
      Co-Defendant Kevin David McGovern, CR 16-44-GF-BMM-01;
      Total Amount: $500,000 Joint and Several: $500,000
      Payee: Bureau of Reclamation



G    The defendant organization shall pay the cost of prosecution.

G    The defendant organization shall pay the following court cost(s):

G    The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
